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 12   VIDEOSHARE, LLC
 13
 14                   IN THE UNITED STATES DISTRICT COURT
 15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16                               WESTERN DIVISION
 17
 18    IN RE NONPARTY SUBPOENAS             )   Case No. 2:21-mc-00464
                                            )
 19                                         )
       VIDEOSHARE, LLC,                         Related to Case No.
                                            )   6:19-cv-00663-ADA
 20                                         )
                   Petitioner,              )   Pending in the United States District
 21          v.                             )   Court for the Western District of Texas
                                            )
 22    GOOGLE LLC and                       )   PETITIONER’S NOTICE OF
       YOUTUBE, LLC,                        )   MOTION AND MOTION TO
 23                                         )
                                            )   QUASH GOOGLE LLC AND
 24                Respondents.             )   YOUTUBE, LLC’S SUBPOENAS
                                            )   TO DOVEL & LUNER
 25                                         )
                                            )   Hearing Date: TBD
 26                                         )   Time:         TBD
                                            )   Ctrm.:        TBD
 27                                         )
 28
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  1         PLEASE      TAKE      NOTICE      THAT        Petitioner   VideoShare,   LLC
  2   (“VideoShare”) moves this Court for an order quashing Google LLC and
  3   YouTube, LLC’s (collectively, “Google”) Subpoena to Testify at a Deposition in
  4   a Civil Action and Subpoena to Produce Documents, Information, or Objects in
  5   a Civil Action (“Subpoenas”) to VideoShare’s former litigation counsel Dovel &
  6   Luner (“Dovel”), issued in the underlying action pending in the United States
  7   District Court for the Western District of Texas.
  8         This motion is made following the conference of counsel pursuant to Local
  9   Rule 37-1, which took place on March 29, 2021.
 10         This motion is based upon this Notice of Motion, the Memorandum of
 11   Points and Authorities, and Declaration of Josepher Li filed concurrently
 12   herewith, any subsequently filed briefs and declarations, the pleadings and papers
 13   filed in this action, and any other arguments, evidence, and matters submitted to
 14   the Court, at the hearing or otherwise. A proposed order is also being lodged with
 15   the Court.
 16
 17   Dated: March 29, 2021                    Respectfully submitted,
 18                                           ARMOND WILSON LLP
 19
 20                                           By: /s/ Josepher Li
                                                  Michelle E. Armond
                                                  Josepher Li
 21
 22                                                 William D. Ellerman
                                                    SHORE CHAN LLP
 23
                                             Attorneys for Petitioner
 24                                          VIDEOSHARE, LLC
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  1                          CERTIFICATE OF SERVICE
  2         Pursuant to the Federal Rules of Civil Procedure, I hereby certify that on
  3
      March 29, 2021, a true and correct copy of the foregoing document was served
  4
      via electronic transmission, upon the following attorneys:
  5
  6    David S. Almeling                       J. Mark Mann
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 12                                            YouTube, LLC
 13    Attorneys for Google LLC and
       YouTube, LLC
 14
 15
 16                                            /s/ Josepher Li
 17                                           Josepher Li

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